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8
                        IN THE UNITED STATES DISTRICT COURT
9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                 SOUTHERN DIVISION
10
     DONALD EVANS, individually and               Case No. 16-cv-188-DOC-JCG
11   behalf of others similarly situated,
12                                               NOTICE OF DISMISSAL OF
                   Plaintiff,                    CLAIMS
13
            v.
14
15   ACCURATE BACKGROUND, LLC

16                 Defendant.
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     Case No. 16-cv-188-DOC-JCG

                                  NOTICE OF DISMISSAL OF CLAIMS
 Case 8:16-cv-00188-DOC-JCG Document 13 Filed 03/18/16 Page 2 of 2 Page ID #:42



1                           NOTICE OF DISMISSAL OF CLAIMS
2           Plaintiff Donald Evans, individually and on behalf of others similarly
3    situated, voluntarily dismisses all of the claims he asserts in this case, without
4    prejudice. Defendant Accurate Background, LLC has not yet filed an answer or a
5    motion for summary judgment, so Evans’s voluntary dismissal is permissible
6    without an order by this Court. FED. R. CIV. P. 41(a)(1)(A)(i).
7
     Dated: March 18, 2016                      Respectfully submitted,
8
9                                       By:     /s/ Michael A. Caddell
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     Case No. 16-cv-188-DOC-JCG                   −2−

                                  NOTICE OF DISMISSAL OF CLAIMS
